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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
               vs.                           )
                                             )
SHERRON DONTA PINKIN,                        )
                                             )
                       Defendant.            )


    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Countis)               of the Indictment. After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined that the
                                                       ~
guilty plea(ca) wasr-e.knowing and voluntary as to -.Hl-count, and that the offensete) charged

isfa;,; supported by an independent factual basis concerning each of the essential elements of such

offensets). I, therefore, recommend that the pleats) of guilty be accepted, that a pre-sentence

investigation and report be prepared, and that the Defendant be adjudged guilty and have sentence

imposed accordingly.




Date                                              THOMAS J. SH LDS
                                                  UNITED STATE MAGISTRATE JUDGE


                                            NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date ofits service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
